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            IN THE UNITED STATES DISTRICT COURT IN AND FOR THE
                      EASTERN DISTRICT OF OKLAHOMA

AMBERLEY HINER, individually,                             )
WHITNEY CARLTON, individually                             )
and AMBERLEY HINER, as Personal                           )
Representative,                                           )
                                                          )
                        Plaintiffs,                       )
                        Cross Claim                       )
                        Defendants,                       )
                                                          )
              - vs -                                      )      Case No. CIV-12-367-SPS
                                                          )
FARMERS NEW WORLD LIFE                                    )
INSURANCE COMPANY,                                        )
                                                          )
                              Defendant,                  )
                              Cross Claimant              )
                              Third Party Plaintiff,      )
                                                          )
               - vs -                                     )
                                                          )
RALPH E. CARLTON, an individual,                          )
                                                          )
                              Third Party Defendant.      )

                       AMENDED AGREED ORDER OF DISTRIBUTION

       This matter comes before the Court upon the parties’ joint Motion for Disbursement of
Funds. Having reviewed the pleadings, affidavits and evidence on file herein, the Court does
hereby FIND as follows:

       1.     The amount of $110,160.62 was deposited herein by Defendant, Farmers New
              World Life Insurance Company, on July 5, 2013.

       2.     The parties have jointly announced that they have reached an agreement on how
              said sum should be distributed, including each party waiving any and all claims
              against each other and also waiving all claims for costs and/or fees to be made
              against the interpled funds.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       1.     The amount of $22,500.00 shall be distributed to Defendant, Ralph Carlton, c/o
              Clark Wood, 303 South Oak, Sallisaw, OK 74955.
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        2.    The remaining amount of $87,660.62, plus any interest that accrued since the date
              of deposit and less any registry fee, shall be distributed to the Plaintiffs,
              Amberley Hiner and Whitney Carlton, jointly, c/o Justin Stout, 300 W.
              Broadway, Muskogee, OK 74401 .


IT IS SO ORDERED this 9th day of August, 2013.




 Approved by:


 /s/     Justin Stout
 ___________________________________________
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 /s/     Clark Wood

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